          Case 1:14-vv-00401-UNJ Document 42 Filed 08/05/16 Page 1 of 3




In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS

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STEVE H. MITCHELL,          *                   No. 14-401V
                            *                   Special Master Christian J. Moran
                Petitioner, *
                            *
v.                          *                   Filed: December 21, 2015
                            *
SECRETARY OF HEALTH         *                   Decision on the record; insufficient
AND HUMAN SERVICES,         *                   proof of causation; peripheral neuropathy;
                            *                   tetanus vaccine
                Respondent. *
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Diana S. Sedar, Sarasota, FL, for petitioner;
Jennifer L. Reynaud, United States Dep’t of Justice, Washington, D.C., for respondent.

               UNPUBLISHED DECISION DENYING COMPENSATION 1

        Steve Mitchell filed a petition under the National Childhood Vaccine Injury Act,
42 U.S.C. §§ 300aa-10 through 34 (2012), on May 9, 2014. His petition alleged that he
had an adverse reaction, including peripheral polyneuropathy, resulting from the receipt
of the tetanus vaccine administered to him on May 21, 2012. The information in the
record, however, does not show entitlement to an award under the Program.

          I.    Procedural History

       A scheduling order was filed on May 16, 2014. This scheduling order suspended
the deadline for the respondent’s Rule 4 report, and petitioner was ordered to continue
collecting his medical records. On July 18, 2014, petitioner filed a statement of
completion regarding the filing of his medical records, as required by 42 U.S.C. § 300aa-
11(c) and Vaccine Rule 2(c)(2)(A). A status conference was then held on October 27,

      1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913
(Dec. 17, 2002), requires that the Court post this ruling on its website. Pursuant to
Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of
medical information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any
redactions ordered by the special master will appear in the document posted on the
website.
         Case 1:14-vv-00401-UNJ Document 42 Filed 08/05/16 Page 2 of 3



2014, during which petitioner was ordered to provide a status report on any demand made
to respondent, his progress obtaining an expert witness, and a proposed deadline for his
expert report.

        Petitioner filed this status report on December 3, 2014, and indicated that he was
gathering information to determine damages for his demand, and that he was continuing
efforts to retain an expert. The undersigned set a March 3, 2015 deadline for petitioner’s
expert report. A January 5, 2015 status report reiterated that petitioner was gathering
information for his demand, and continuing efforts to retain an expert.

        On January 21, 2015, petitioner filed a status report stating a demand had been
submitted to respondent, and that efforts were ongoing to obtain an expert. Petitioner
proposed an extended expert report deadline of March 23, 2015. A status conference was
held on January 23, 2015, and the resulting scheduling order required respondent to file a
status report regarding settlement by February 24, 2015, and petitioner to file his expert
report by March 24, 2015. Respondent’s February 24, 2015 status report stated that
respondent intended to defend the claim and did not think further settlement discussions
would be productive.

       On April 8, 2015, another status conference was held. At this status conference
petitioner reported retaining a neurologist and immunologist, and requested an additional
sixty days to file his expert reports. The undersigned set a June 9, 2015 deadline for
petitioner’s expert reports. On June 9, 2015, petitioner motioned for an extension of time
to submit his expert report. On June 12, 2015, this motion was granted, extending
petitioner’s deadline to August 10, 2015. On August 10, 2015, petitioner again filed a
motion for extension of time. This was also granted, extending petitioner’s deadline to
September 9, 2015. On September 9, 2015, petitioner again filed a motion for extension
of time. This was also granted, extending petitioner’s deadline to October 9, 2015.

       On October 9, 2015, petitioner filed a motion for a decision on the record, noting
they would not be filing a medical expert opinion. In informal communications with
respondent, respondent indicated that she would not file a response and will rest on her
Rule 4 report. Accordingly, this case is now ready for adjudication.

       II.    Analysis

       To receive compensation under the National Vaccine Injury Compensation
Program (hereinafter “the Program”), petitioner must prove either 1) that Mr. Mitchell
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to his vaccination, or 2) that he suffered an injury that was actually caused
by a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the
record did not uncover any evidence that Mr. Mitchell suffered a “Table Injury.” Thus, he
is necessarily pursuing a causation-in-fact claim.

                                             2
         Case 1:14-vv-00401-UNJ Document 42 Filed 08/05/16 Page 3 of 3




       Under the Act, a petitioner may not be given a Program award based solely on the
petitioner’s claims alone. Rather, the petition must be supported by either medical
records or by the opinion of a competent physician. § 300aa-13(a)(1). In this case,
because the medical records do not support Mr. Mitchell’s claim, a medical opinion must
be offered in support. Mr. Mitchell, however, has offered no such opinion.

      Accordingly, it is clear from the record in this case that Mr. Mitchell has failed to
demonstrate either that he suffered a “Table Injury” or that his injuries were “actually
caused” by a vaccination. Thus, this case is dismissed for insufficient proof. The
Clerk shall enter judgment accordingly.

       Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-6360.


IT IS SO ORDERED.

                                                 S/Christian J. Moran
                                                 Christian J. Moran
                                                 Special Master




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